IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

9.2492
MABLE B, BEAL, deceased,

through
DEBORAH K. PUTNAM
and
MAYNARD BEAL,
Representatives,

RUTH M. SCHAEFFER, deceased
through

JAN FREEMAN and DORIS BICKNELL
Representatives

 

Plaintiffs,
05, 2 n 3 7, D \/
VS. NO.: `9'5'22'9¥€=§£
JURY DEMANDED
WALGREEN CO.,
Defendant.

 

JOINT PROPOSED RULE l6(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are

established as the final dates for:

JOINING PARTIES FOR PLAINTIFF: September 6, 2005
JOINING PARTIES FOR DEFENDANT: September 21, 2005
AMENDED PLEADINGS: September 21, 2005

COMPLETING ALL DISCOVERY: December 31, 2005

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES AND
REQUESTS FOR ADMISSIONS: November\20, 2005

with Ru|e 58 and/or 79(a) FRCP on d

 

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as

(i) Plaintiff's Expert:

(11) Defendam’g E Septemb€l' 26 2005
_ Xpert: ’
((1;;1)) 5third Pany D_erenaams, g;:tt;)lt))er 26, 2005
upplementation under Rule 26(e): Jauua:; ;7’23325

(c) DEPOSITIONS OF EXPERTS°

January 30, 2006
FILING DISPOSITIVE MOTIONS:

February 15, 2006

(a) For Plaintiff:
For Defendant: ll\`{[/[::ccllil 1155’ 2233£

The parties shall have ten l
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me Objecnons under Ru]e 26(&)(3)( ) ays after service of final lists of witnesses and exhibits to

d The trial of this matter is exp
parties are unable to agree on a joint

ected to last eight (8) days and is not set. In the event the
(10) days before trial.

pretrial order, the parties must notify the Court at least ten

OTHER RELEVANT MATTERS:

the discovery must be submitted at least 30 days prior to the deadline for completion of

discovery Additionally, each party will be permitted to seek 35 Interrogatories. Each party will
also be permitted to seek Twenty (20) depositions

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,

or answer shall be waived.

' ' Rule 7(a)(l)(A) and (a)(l)(B), all
ames are reminded that pursuant to Local l
motionsTh:xcpept motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanled by a

proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this m};tttler. N;:lilth[e;' Ip:;;;
' ' ` leave of the court. If a party e leves a
1 addltlonal reply, however, Wlthout d .
i::l)eci;sesaa;ly it shall file a motion for leave to file a reply accompamed by a memorandum setting

forth the reasons for which a reply is required.

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The Parties
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cc<:mi:lly provide the parties Wl_t§] U`lal before the Magjstrate Jud
ui:lnce is agreed to by all _ a definite trial date th _ge» The Magistrate Jud
Pl`OCeeding to m» Parties, 01- an _ at Wlll not be . ge Can
al, emergency arises Whl.ch pr 1 dcontlnued unless a
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DIANE K vEsC0v0

Unl'ted States Magistrate Judge

Date.' W

Approved as to Form:

 

Pam Wamocl< Green #10407
McNabb, Bragorgos & Burgess
Counsel for Defendant

80 Monroe Sixth Floor

Counsel for Defendant
901-624-0640

 

Larry E. Pan‘ish #8464

Law ofiices of Larry Parrish
Counsel for Plaintiff

6075 Poplar Avenue
Memphis, TN 38119

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02237 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Larry E. Parrish

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Honorable Bernice Donald
US DISTRICT COURT

